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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
HESHAM ISMAIL                              :
                                           :                   CIVIL ACTION NO.
                                           :
                  Plaintiff,               :                   2:24-cv-05610-GJP
                                           :
            vs.                            :
                                           :
TIMOTHY KOLMAN ESQ.                        :
And KOLMAN LAW,PC.,                        :
                                           :
                  Defendants.              :
__________________________________________


                               MOTION FOR RULE 11 SANCTIONS

       AND NOW, this 4th day of February 2025, upon Defendants serve this Motion on the

Plaintiff pursuant to Fed.R.Civ.P. 11, and avers as follows.

        1. A motion for sanctions must be made separately from any other motion and must

             describe the specific conduct that allegedly violates Rule 11(b).

        2.   The motion must be served under Rule 5, but it must not be filed or be presented to

             the court if the challenged paper, claim, defense, contention or denial is withdrawn or

             appropriately corrected within twenty-one days after service, or within another time

             the court sets.

        3. In this case, Defendants served the Rule 11 Motion on the Plaintiff’s Attorney on

             February 4, twenty-one days (21) days before filing its motion for sanctions.

        4. As such, the requirement of Rule 11(c)(2) is met.

        5. Defendants requested that the Plaintiff’s Complaint be withdrawn with prejudice

             because inter alia, the statute of limitations has run on both causes of action, the law
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   of the case is that it was settled with the full knowledge and consent of the Plaintiff,

   and the case has been brought in the wrong forum,

6. Plaintiff did not withdraw his complaint with prejudice or seek other benefit from the

   safe harbor provision of Rule 11.

7. Rule 11 requires the service of a motion to trigger the safe harbor period. The safe

   harbor provision allows parties to correct their errors. In re Schaefer Salt Recovery,

   Inc., 542 F.3d 90 (3d Cir. 2008).

8. In this case, the Plaintiff may have been imputed to know about the Defendants’

   alleged fraud and malpractice in April 2019, yet he filed this lawsuit only in October

   2024.

9. The Plaintiff settled his case in open court in April 2019 and a transcript of the record

   demonstrates Plaintiff agreed to accept Fifty-Thousand Dollars ($50,000.00)

   inclusive of legal fees.

10. This settlement was upheld by the magistrate judge, the federal judge to whom

   Plaintiff appealed, and the Third Circuit.

11. Having been thoroughly adjudicated, the matter is res judicata regarding the facts of

   the settlement and the Defendant’s consent.

12. Plaintiff never raised a fraud in the inducement claim or breach of contract until

   October 2025 despite requesting his litigation file two years ago, which Defendants

   provided.

13. Plaintiff’s complaint alleges misappropriation of Twenty Thousand Dollars

   ($20,000.00) on the part of Defendants.
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14. Plaintiff is well aware that the Twenty Thousand Dollars ($20,000.00), referenced in

   the complaint as having been wrongly appropriated was Kolman Law PC’s legal fees,

   which Plaintiff never indicated he would not pay.

15. There is no fraud claim, and if there were, it should have been pled with specificity

   and brought within two (2) years from April 2019.

16. Because the fraud claim fails, so does the request for punitive damages, as the only

   cause of action left is the alleged breach of contract for which punitive damages are

   not available.

17. This breach of contract cause of action also accrued in April 2019 when Plaintiff

   wished to repudiate the settlement and allegedly had reason to believe Defendants had

   breached their contract.

18. The statute for limitations for contracts is established under 42 Pa.C.S.A. § 5525(a)(8),

   which specifies that actions upon a contract, obligation, or liability founded upon a

   writing must be commenced within four (4) years (42 Pa.C.S.A. § 5525) This four

   (4)-year limitations period applies to various types of written contracts, including

   those for the sale, construction, or furnishing of tangible personal property or

   fixtures (42 Pa.C.S.A. § 5525).

19. Defendants are out of time.

20. The Twenty Thousand Dollars ($20,000.00) referred to in the complaint that the

   Defendants allegedly misappropriated was Kolman Law’s lawful legal fee, or Forty

   Percent (40%) of Fifty Thousand Dollars ($50,000.00), which was unquestioned by

   any court.
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        21. Finally, nothing the Plaintiff has pled indicates this case is worth close to Seventy-

           Five Thousand Dollars ($75,000.00). The maximum loss Plaintiff has pled is only

           Twenty Thousand Dollars ($20,000.00)

        22. Therefore, the Federal Court has no jurisdiction.

       WHEREFORE, Defendants request, because of the frivolous nature of the complaint,

failure to do adequate research, and pleading facts that do not exist, the Complaint should be

dismissed with prejudice and costs and legal fees levied on Defendants in an amount to be

determined by the Court.

                                     Respectfully submitted,


                                     KOLMAN LAW, P.C.


                              BY:    _s/Tim Kolman_
                                     Timothy M. Kolman, Esquire
                                     414 Hulmeville Avenue
                                     Penndel, Pennsylvania 19047
                                     (215) 750-3134
                                     tkolman@kolmanlaw.com

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                               CERTIFICATE OF SERVICE

       I, Timothy M. Kolman, Esquire, hereby certify that on this 4 th day of February 2025, I
caused a true and correct copy of the attached Motion for Rule 11 Sanctions to be served upon the
following via e-mail:

                               Mr. William R.A. Rush, Esquire
                                      Rush Law Group
                                        38 N. 6th Street
                                        P.O. Box 0758
                                Reading, Pennsylvania 19603
                                    Attorney for Plaintiff


                                                    Respectfully submitted,


                                                    KOLMAN LAW, P.C.


                                            BY:     _s/Tim Kolman_
                                                    Timothy M. Kolman, Esquire
                                                    414 Hulmeville Avenue
                                                    Penndel, Pennsylvania 19047
                                                    (215) 750-3134
                                                    tkolman@kolmanlaw.com

Date: February 4, 2025
